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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: October 3, 2023



________________________________________________________________



                    UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

  In Re:                                             : Case No: 23-52781
           TRICIA ANN ROUTT                          :
                                                     :
                                                     : CHAPTER 13
               Debtor(s)                             : Judge Mina Nami Khorrami

                    ORDER RESCHEDULING HEARING ON
                    CONFIRMATION OF CHAPTER 13 PLAN

     This matter is before the Court on the report of the Chapter 13 Trustee. The Chapter

  13 plan as proposed by the Debtor(s) will not be in posture for confirmation on the

  scheduled confirmation hearing date. Accordingly, it is so ORDERED and notice is

  hereby given, that the hearing on confirmation of the Debtor(s)' Chapter 13 plan, and any

  objections thereto, is rescheduled to 11/28/2023 at 01:00 PM at U.S. Bankruptcy Court,

  Courtroom A, 170 North High Street, Columbus, OH 43215.

     IT IS SO ORDERED.



  Copies to: All Creditors and Parties in Interest
